       Case: 24-50149    Document: 138    Page: 1   Date Filed: 03/21/2024




                               Case No. 24-50149

            IN THE UNITED STATES COURT OF APPEALS
                          FIFTH CIRCUIT
 _________________________________________________________________

                         UNITED STATES OF AMERICA,
                                                    Plaintiff-Appellee
                                           v.
  STATE OF TEXAS; GREG ABBOTT, in his official capacity as Governor of
Texas; TEXAS DEPARTMENT OF PUBLIC SAFETY; STEVEN C. MCCRAW,
     in his official capacity as Director of Texas Department of Public Safety,
                                                    Defendants-Appellants
__________________________________________________________________
     LAS AMERICAS IMMIGRANT ADVOCACY CENTER; AMERICAN
                  GATEWAYS; COUNTY OF EL PASO, TEXAS,
                                                    Plaintiffs-Appellees
                                           v.
 STEVEN C. MCCRAW, in his official capacity as Director of the State of Texas
 Department of Public Safety; BILL D. HICKS, in his official capacity as District
                            Attorney for the 34th District,
                                                    Defendants-Appellants
__________________________________________________________________
            On Appeal from the United States District Court for the
                              Western District of Texas
     __________________________________________________________
     Brief of Amicus Curiae the Government of the United Mexican States
   in Support of Plaintiffs-Appellees and Affirmance of the District Court’s
                           Preliminary Injunction Order
__________________________________________________________________

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         THE GOVERNMENT OF THE UNITED MEXICAN STATES
       Case: 24-50149      Document: 138        Page: 2   Date Filed: 03/21/2024




                 CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record makes this supplemental statement of

interested parties pursuant to Fifth Circuit Rule 29.2 and identifies:

      The Government of the United Mexican States, Amicus Curiae.

      Sinéad O’Carroll, Manasi Rodgers, and Kayla Kelly (Carrick), Reeves &

Brightwell LLP, counsel for Amicus Curiae.




                                          -i-
          Case: 24-50149              Document: 138              Page: 3       Date Filed: 03/21/2024




                                         TABLE OF CONTENTS

                                                                                                               Page(s)
CERTIFICATE OF INTERESTED PERSONS ........................................................ i
TABLE OF CONTENTS .......................................................................................... ii
TABLE OF AUTHORITIES ................................................................................... iii
IDENTITY AND INTEREST OF AMICUS CURIAE AND
  SOURCE OF AUTHORITY TO FILE BRIEF ......................................................1
STATEMENT PURSUANT TO FED. R. APP. P. 29(a)(4)(E) ................................3
ARGUMENT & AUTHORITIES .............................................................................3
  I. Enforcement of SB 4 Would Negatively Impact Mexican Nationals. .............3
           A. Discriminatory Enforcement of SB 4 Would Harm Mexican
              Nationals. .................................................................................................4
           B. SB 4 is Causing Fear and Concern among Mexican Nationals Living
              in Texas and Straining Mexico’s Available Consular Resources. ..........7
  II. Enforcement of SB 4 Would Frustrate Diplomatic Relations Between
      Mexico and the United States. ..........................................................................8
           A. SB 4 Prevents the United States from Speaking with One Uniform
              Voice on Immigration Matters. ................................................................8
           B. SB 4’s Removal Provisions Ignore Mexico’s Right to Determine its
              Own Policies Regarding Entry into its Territory. ..................................11
           C. SB 4 Would Derail Collaborative Efforts Toward a Uniform Legal
              Migration Framework and Border Management. ..................................12
           D. SB 4 Would Hinder Mexico-U.S. Trade. ..............................................14
CONCLUSION ........................................................................................................16
CERTIFICATE OF COMPLIANCE WITH FED. R. APP. P. 32(a) ......................18
CERTIFICATE OF SERVICE ................................................................................19




                                                          -ii-
          Case: 24-50149             Document: 138              Page: 4      Date Filed: 03/21/2024




                                     TABLE OF AUTHORITIES
                                                                                                           Page(s)


Cases

Arizona v. U.S.,
  567 U.S. 387 (2012) ...............................................................................................9

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  221 F.3d 329 (2d Cir. 2000)...................................................................................6

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  462 U.S. 611 (1983) ...............................................................................................5
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                                                        -iii-
           Case: 24-50149               Document: 138              Page: 5        Date Filed: 03/21/2024




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TEX. CODE OF CRIM. PROC. art. 5B.002 ........................................................... 11, 12

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Rules
FED. R. APP. P. 29............................................................................................ ii, 3, 18

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                                                            -iv-
          Case: 24-50149             Document: 138             Page: 6        Date Filed: 03/21/2024




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                                                         -v-
           Case: 24-50149        Document: 138          Page: 7   Date Filed: 03/21/2024




              IDENTITY AND INTEREST OF AMICUS CURIAE AND
                  SOURCE OF AUTHORITY TO FILE BRIEF

          The Government of the United Mexican States (“Mexico”) herein expresses

its significant concerns over Texas Senate Bill 4 from the 2023 legislative session

(“SB 4”)1 and underscores the importance of affirming the preliminary injunction

entered by the United States District Court for the Western District of Texas.

          Mexico’s interest arises from ensuring that its citizens are accorded human

and civil rights when present in the United States of America (“U.S.” or “United

States”) and that their ethnicity is not used as a basis for state-sanctioned acts of bias.

Mexico is deeply concerned that SB 4 will be applied in a discriminatory manner

and fears that its enforcement will lead to improper harassment, detention, removal,

and criminalization of Mexican citizens and individuals of Latino appearance.

Moreover, if SB 4 is permitted to take effect, Texas would become a “show me your

papers” state, unconstitutionally restricting freedom and diminishing the civil and

constitutional rights and dignity of Latinos who live in and visit Texas. SB 4’s

enforcement threatens the well-being of persons erroneously detained under its

auspices, as well as their families, including family members who are U.S. citizens.

The unforeseen ramifications of this law would have a substantial impact and

hardship on the Mexican community.



1
    S.B. 4, 88th Leg., 4th Spec. Sess. (Tex. 2023).

                                                  -1-
       Case: 24-50149      Document: 138        Page: 8   Date Filed: 03/21/2024




      Mexico’s interests also include the substantial tension enforcement of SB 4

would place on international relations between Mexico and the United States.

Mexico seeks to ensure that its bilateral diplomatic relations with the United States

are transparent, consistent, reliable, and not frustrated by individual U.S. states’

actions. Enforcement of SB 4 would inappropriately burden the uniform and

predictable sovereign-to-sovereign relations between Mexico and the United States,

by criminalizing the unauthorized entry of noncitizens into Texas from outside the

county and creating diverging removal requirements between and among individual

states and the national government. Enforcement of SB 4 would also interfere with

Mexico’s right to determine its own policies regarding entry into its territory,

undermine U.S.-Mexico collaboration on a legal migration framework and border

management, and hinder U.S.-Mexico trade.

      Mexico expressly and publicly acknowledges the sovereign right of every

country to decide on the public policies that should apply in its territory, but

respectfully asserts its own right to protect the rights of Mexican nationals in the

U.S., to determine its own policies regarding entry into its territory, and to ensure

that its diplomatic relations with the United States are not adversely impacted by the

actions of the State of Texas. Mexico further asserts its right not to receive nationals

from other countries who do not want to enter its country of their own desire, but at

the imposition of a state that is exercising unlawful immigration policies.


                                          -2-
         Case: 24-50149      Document: 138        Page: 9   Date Filed: 03/21/2024




       Mexico respectfully submits this brief as amicus curiae in support of

 Plaintiffs-Appellees so that the Court may take these important matters into

 consideration when analyzing the legality of SB 4.

       Mexico is authorized to file this brief by Federal Rule of Appellate

 Procedure 29(a)(2) because all parties have consented to the filing of this amicus

 curiae brief.

           STATEMENT PURSUANT TO FED. R. APP. P. 29(a)(4)(E)

       No party or party’s counsel, nor any other person other than the amicus curiae

 or its counsel, authored this brief in whole or in part or contributed money that was

 intended to fund preparing or submitting the brief.

                          ARGUMENT & AUTHORITIES

I.   Enforcement of SB 4 Would Negatively Impact Mexican Nationals.

       There are approximately 2.4 million individuals who were born in Mexico

 living in Texas who could be negatively impacted by the enforcement of SB 4.2

 Indeed, SB 4 is already causing significant fear and concern among Mexican

 nationals living in Texas. The Government of Mexico has a significant interest in

 protecting the international and constitutional rights and ensuring the safety and

 wellbeing of each of these individuals and endeavors to help any Mexican national



 2
  See State Immigration Data Profiles: Texas, MIGRATION POLICY INSTITUTE (2022),
 https://www.migrationpolicy.org/data/state-profiles/state/demographics/TX.

                                            -3-
       Case: 24-50149     Document: 138        Page: 10   Date Filed: 03/21/2024




living in Texas needing consular assistance.

       A.     Discriminatory Enforcement of SB 4 Would Harm Mexican
              Nationals.

      Discriminatory enforcement of the law has adverse legal, social, economic,

and political implications. Mexico has a legitimate interest in ensuring that its

citizens, regardless of their migratory status, are not deprived of international and

constitutional protections or subjected to hostile attitudes or actions by U.S. state

actors or the society at large. See Hines v. Davidowitz, 312 U.S. 52, 64 (1941) (“One

of the most important and delicate of all international relationships, recognized

immemorially as a responsibility of a government, has to do with the protection of

the rights of a country’s own nationals when those nationals are in another

country.”).

      Mexico is deeply concerned that enforcement of SB 4 by Texas’s officers

could lead to improper harassment, detention, removal, and criminalization of

Mexican citizens and individuals of Latino appearance. SB 4 impliedly encourages

the use of race, color, or national origin in implementing SB 4’s immigration

provisions, and Mexico believes that SB 4 cannot be applied in a race-neutral

manner. Latino appearance simply is not a proper factor for consideration by law

enforcement, particularly given the increasing number of Latinos living in the United

States. U.S. v. Montero-Camargo, 208 F.3d 1122, 1135 (9th Cir. 2000) (“Hispanic

appearance is of little or no use in determining which particular individuals among

                                         -4-
       Case: 24-50149     Document: 138         Page: 11   Date Filed: 03/21/2024




the vast Hispanic populace should be stopped by law enforcement officials on the

lookout for illegal aliens” and “at this point in our nation’s history, and given the

continuing changes in our ethnic and racial composition, Hispanic appearance is, in

general, of such little probative value that it may not be considered as a relevant

factor where particularized or individualized suspicion is required”); see also U.S.

v. Swindle, 407 F. 3d 562, 569-70 (2d Cir. 2005) (“race, when considered by itself

and sometimes even in tandem with other factors, does not generate reasonable

suspicion for a stop”); U.S. v. Avery, 137 F.3d 343, 354 (6th Cir. 1997) (“the

reasonable suspicion requirement for an investigative detention cannot be satisfied

when the sole factor grounding suspicion is race”).

      In addition to the imminent risk of violations of Mexican citizens’ rights under

the U.S. Constitution, SB 4 conflicts with principles of international law protecting

the rights of foreign nationals in host countries. As noted by the late Justice Scalia,

“statutes should not be interpreted to regulate foreign persons or conduct if that

regulation would conflict with principles of international law.” Hartford Fire Ins.

Co. v. California, 509 U.S. 764, 815 (1993) (Scalia J., dissenting); see also FNC

Bank v. Banco Para el Comercio, 462 U.S. 611, 623 (1983) (recognizing that

international law “is part of our law”) (quoting The Paquete Habana, 175 U.S. 677,

700 (1900)). The potentially arbitrary enforcement of SB 4 directly conflicts with

international law. In particular, SB 4 is contrary to the United Nations International


                                          -5-
       Case: 24-50149       Document: 138         Page: 12   Date Filed: 03/21/2024




Convention on the Protection of the Rights of All Migrant Workers and Members of

Their Families, which provides in Article 16 that “migrant workers and members of

their families shall have the right to liberty and security of person” and “shall not be

subjected individually or collectively to arbitrary arrest or detention.”3 While

international sources may not be binding upon this Court, they remain relevant in

evaluating SB 4’s intrusion in foreign policy and Mexico’s concerns with respect to

the statute’s regulation of foreign persons and their conduct in the U.S.

       Furthermore, Mexico is concerned about the impact of this potentially

discriminatory cross-deputization regime on the wellbeing and safety of its citizens.

Discriminatory targeting of Mexican nationals and persons of Latino appearance

under SB 4 will lead to the harmful separation of families, negatively affecting both

Mexican and U.S. citizens. Requiring the police to act as immigration officers may

undermine police legitimacy in Latino communities, reducing crime reporting and

leading to an increase in criminal activity. See Brown v. City of Oneonta, 221 F.3d

329, 339 (2d Cir. 2000) (“Law enforcement officials should always be cognizant of

the impressions they leave on a community, lest distrust of law enforcement

undermine its effectiveness.”).




3
 International Convention on the Protection of the Rights of All Migrant Workers and Members
of Their Families, UNITED NATIONS: HUMAN RIGHTS INSTRUMENTS (Dec. 18, 1990),
https://www.ohchr.org/en/instruments-mechanisms/instruments/international-convention-
protection-rights-all-migrant-workers.

                                            -6-
        Case: 24-50149         Document: 138          Page: 13    Date Filed: 03/21/2024




        B.     SB 4 is Causing Fear and Concern among Mexican Nationals
               Living in Texas and Straining Mexico’s Available Consular
               Resources.

       The Government of Mexico has 11 consulates in Texas all charged with

performing duties such as helping Mexican citizens living or traveling in the U.S.

who need assistance when dealing with U.S. laws and legal issues, or who need vital

documents such as passports, identifications, and birth certificates.4                    Consular

officials also strengthen relations with local authorities, as well as business and

community organizations in the region, and serve to promote Mexico as a country

of economic, touristic, gastronomic, scientific, academic, cultural, and artistic

interest.

       Based on Mexico’s consultations with its consular officials stationed

throughout Texas, it is undeniable that SB 4 is creating fear, panic, and uncertainty

among Mexican nationals living in Texas regardless of their immigration status, as

well as among Mexicans visiting Texas for both business and leisure travel. This

widespread concern is causing a disproportionate share of the time and resources of

Mexican consular officials in Texas to be focused on addressing the immigration



4
 Mexico offers these and other consular services pursuant to Article 5 of the Vienna Convention
on Consular Relations (Vienna Convention on Consular Relations, UNITED NATIONS (1963),
https://legal.un.org/ilc/texts/instruments/english/conventions/9_2_1963.pdf) and Article IV of the
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https://travel.state.gov/content/travel/en/legal/travel-legal-considerations/intl-treaties/Bilateral-
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                                                -7-
       Case: 24-50149     Document: 138        Page: 14   Date Filed: 03/21/2024




enforcement concerns of Mexican nationals located in Texas instead of promoting

commercial, economic, cultural, and scientific relations between Mexico and the

United States. The possibility that thousands of Mexican nationals authorized to

study, work, and reside in Texas are now under threat of detention, removal, and

criminalization—and the related separation from their families—upon any

interaction with a Texas law enforcement official has engendered unprecedented

levels of anxiety in the Mexican community.

II. Enforcement of SB 4 Would Frustrate Diplomatic Relations Between
    Mexico and the United States.

       A.    SB 4 Prevents the United States from Speaking with One Uniform
             Voice on Immigration Matters.

      The U.S. Supreme Court has long recognized that state encroachment into

immigration enforcement could be injurious to U.S. foreign policy. Beginning with

Chy Lung v. Freeman, 92 U.S. 275 (1875), the U.S. Supreme Court expressed

concern that a California immigration law could “embroil us in disastrous quarrels

with other nations.” Id. at 280. In response to this possibility, the Court held the

law unconstitutional and reasoned that the founders would never have “done so

foolish a thing as to leave [immigration] in the power of the States to pass laws

whose enforcement renders the general government liable to just reclamations which

it must answer, while it does not prohibit to the States the acts for which it is held

responsible?” Id. The Court recognized that any diplomatic tensions created by one


                                         -8-
          Case: 24-50149       Document: 138          Page: 15   Date Filed: 03/21/2024




state’s immigration laws could accrue to the detriment of the entire United States,

and thus emphasized the importance of speaking with one voice on immigration law.

         More recently, the U.S. Supreme Court reiterated the importance of the United

States speaking with one voice on immigration in Arizona v. U.S., 567 U.S. 387

(2012), which invalidated many provisions of an Arizona immigration law 5 like SB

4. Id. at 416. The U.S. Supreme Court provided the most definitive statement yet

on this principle, declaring that “[i]t is fundamental that foreign countries concerned

about the status, safety, and security of their nationals in the United States must be

able to confer and communicate on this subject with one national sovereign, not the

50 separate States.” Id. at 395. The Supreme Court added that “[i]mmigration policy

can affect trade, investment, tourism, and diplomatic relations for the entire Nation,

as well as the perceptions and expectations of aliens in this country who seek the full

protection of its laws,” id. (citing Brief for United Mexican States as Amici Curiae),

and held that “[t]he dynamic nature of relations with other countries requires the

Executive Branch to ensure that enforcement policies are consistent with this

Nation’s foreign policy with respect to these and other realities.” Id. at 397.

         The law is beyond clear that foreign nations must be able to confer with “one

national sovereign, not the 50 separate States,” regarding the safety and security of

their nationals. Ariz., 567 U.S. at 395. SB 4 wholly eviscerates this one-voice


5
    H.R. 2162, 49th Leg., 2d Reg. Sess., Ch. 113 (Ariz. 2010), as amended.


                                                -9-
        Case: 24-50149       Document: 138       Page: 16      Date Filed: 03/21/2024




principle by requiring Mexico to engage with not only the U.S. government, but also

several levels of state and local law enforcement in Texas to address individual

apprehensions, detentions, and removals pursuant to SB 4. If SB 4 is upheld,

additional states may pass similar laws, further increasing the number of state and

local law enforcement officials Mexico will have to engage with to address the needs

of its citizens.6 In addition to significantly complicating Mexico’s ability to address

individual apprehensions, detentions, and removals, SB 4’s violation of the one-

voice principle will require Mexico to deploy significant resources to protect its

nationals in Texas to ensure that they are not wrongfully detained or deported.

       SB 4 would further undermine the one-voice principle by adversely impacting

diplomatic relations between Mexico and the U.S. should Texas state or local law

enforcement officials violate either state or federal law while executing SB 4. When

Mexico engages its U.S. counterparts about improper conduct by Texas officials, the

federal government will be unable to resolve the incident or prevent similar incidents

from occurring in the future. If an officer in Texas detains or removes a Mexican

national with an uncommon immigration status and creates an international incident,




6
  In fact, Iowa lawmakers passed a similar bill on March 19, 2024, making return to Iowa
following deportation a state crime and, depending on the circumstances, allowing or requiring
state court judges to issue removal orders. See S.F. 2340, 90th General Assembly (Iowa 2024).


                                             -10-
        Case: 24-50149        Document: 138        Page: 17      Date Filed: 03/21/2024




the federal government will be powerless to take action to allay Mexico’s legitimate

concerns.

        B.     SB 4’s Removal Provisions Ignore Mexico’s Right to Determine its
               Own Policies Regarding Entry into its Territory.

       SB 4 allows Texas state court judges to request or order removal of

noncitizens to Mexico under certain circumstances. See TEX. CODE OF CRIM. PROC.

art. 5B.002. Enforcement of these provisions would exacerbate diplomatic relation

concerns by removing noncitizens to Mexico, regardless of their nationality and

without regard for Mexico’s own policies regarding entry into its territory or the

noncitizens’ desire to enter Mexico.

       More specifically, SB 4 provides that a magistrate or state court judge may

“discharge” a person charged with illegal entry into the United States “and require

the person to return to the foreign nation from which the person entered or attempted

to enter”—which will almost always be Mexico7—if the person agrees to the order

and has not been previously charged with or convicted of specific crimes. Id. art.

5B.002(a)-(c). For any noncitizen convicted under SB 4, SB 4 requires the state

court judge to enter an “order requiring the person to return to the foreign nation

from which the person entered or attempted to enter”—which again will almost



7
  As the District Court noted, “Texas’s response to the preliminary injunction effectively states
that all removals under SB 4 will be to Mexico.” Prelim. Inj. Order at 9 n.3 (Feb. 29, 2024)
(Dkt. No. 42) (citing Escalon Decl. at 2-4 (Dkt. No. 25)).

                                               -11-
       Case: 24-50149       Document: 138      Page: 18    Date Filed: 03/21/2024




always be Mexico—after serving their prison sentence. Id. art. 5B.002(d). Failure

to comply with the state removal order is an additional second-degree felony, which

is punishable for a term of “not more than 20 years or less than 2 years.” TEX. PENAL

CODE §§ 51.04, 12.33.

       These provisions apply equally to Mexican nationals and nationals of any

other county who enter the United States from Mexico, regardless of whether they

are Mexican citizens or have the legal right or desire to enter Mexico. Mexico has

publicly expressed its opposition to SB 4, expressly noting that that enforcement of

SB 4 would interfere with Mexico’s sovereign right to determine who enters its

territory.8 It is also likely to cause confusion and chaos at the border as people seek

to enter Mexico to avoid criminal penalties under SB 4.

       C.     SB 4 Would Derail Collaborative Efforts Toward a Uniform Legal
              Migration Framework and Border Management.

       With over 11.7 million Mexican nationals9 and 37.2 million persons of

Mexican origin10 living in the U.S., Mexico has a significant interest in ensuring the



8
  See Secretaría de Relaciones Exteriores, Mexican Government opposes the anti-immigrant
legislation passed in Texas, GOBIERNO DE MÉXICO PRESS RELEASE 476 (Nov. 15, 2023)
https://www.gob.mx/sre/prensa/mexican-government-opposes-the-anti-immigrant-legislation-
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                                           -12-
       Case: 24-50149      Document: 138     Page: 19    Date Filed: 03/21/2024




secure, orderly, and legal movement of its citizens in and through the U.S. Safe and

orderly migration conditions can only be achieved through comprehensive,

nationwide U.S. immigration policy. Immigration is regularly a principal discussion

topic at bilateral meetings of the U.S. and Mexican governments. The effects of

Mexico-U.S. migration on labor markets, tourism, business travel, and education are

of great importance to both countries. Indeed, Mexican citizens comprised the

highest percentage (30.4%) of the almost 45 million non-immigrant admissions

(including tourists, business travelers, specialty workers, and students) into the U.S.

in 2022. 11

      Similarly, effective bilateral collaboration is particularly crucial to the

communities on the Mexico-U.S. border. Accordingly, on May 19, 2010, Mexico

and the United States entered a declaration concerning twenty-first century border

management to strengthen collaboration regarding economic trade, tourism, and

against criminal organizations.       That declaration expressly recognized “the

importance of securing and facilitating the lawful flow of goods, services, and people

between their countries,” “that joint and collaborative administration of their

common border is critical to transforming management of the border to enhance



latinos/#:~:text=An%20estimated%2037.2%20million%20Hispanics,Census%20Bureau's%20A
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11
   Alicia Ward, U.S. Nonimmigrant Admissions: 2022, U.S. DEPARTMENT OF HOMELAND
SECURITY OFFICE OF HOMELAND SECURITY STATISTICS 1, 4 (Nov. 2023),
https://www.dhs.gov/sites/default/files/2024-02/2023_0818_plcy_nonimmigrant_fy2022.pdf.

                                         -13-
       Case: 24-50149       Document: 138       Page: 20    Date Filed: 03/21/2024




security and efficiency,” and “that law enforcement coordination between the

Participants is essential to preventing crime and to disrupting and dismantling

transnational criminal organizations.”12

       Collaboration is essential to ensure that immigration reform does not have an

adverse impact on the economies of the border regions. The widespread benefits of

international collaboration to the border regions are another reason why Mexico and

the United States recognize the importance of addressing bilateral issues, including

immigration policy, through comprehensive diplomatic negotiations that prioritize a

wide array of concerns. Contrary to this inclusive approach, SB 4 institutes a state

immigration enforcement system that impedes crucial border management

collaboration at the national level.          Mexico and the United States cannot

cooperatively manage border issues when states interfere with bilateral goals.

        D.    SB 4 Would Hinder Mexico-U.S. Trade.

       Mexico is also greatly concerned with the repercussions of SB 4 on trade and

commercial relations between Mexico and the United States generally, as well as

between Mexico and Texas specifically. U.S. trade with Mexico surpassed $779

billion in 2022, up 18% compared to 2021, setting a new historical level and making



12
   Office of the Press Secretary, Declaration by The Government Of The United States Of
America and The Government Of The United Mexican States Concerning Twenty-First Century
Border Management, THE WHITE HOUSE (May 19, 2010),
https://obamawhitehouse.archives.gov/the-press-office/declaration-government-united-states-
america-and-government-united-mexican-states-c.

                                            -14-
       Case: 24-50149       Document: 138       Page: 21     Date Filed: 03/21/2024




Mexico the United States’s second-most important economic partner. Mexico is

Texas’s largest export market, with 2022 exports from Texas to Mexico at $144.2

billion. In addition, over 200,000 U.S. jobs in Texas rely on bilateral trade with

Mexico.13 The interaction of labor markets, tourism, business travel, and student

migration are of great importance to both countries.

       Strained diplomatic relations substantially impede the ability of Mexico and

the United States to jointly develop, enhance, and maintain commercial exchange

critical to the border and both economies. Those bilateral efforts are meaningless

when the population and business communities on both sides of the border are

discouraged from engaging in trade and economic exchange. If SB 4 is ever fully

implemented, Mexican citizens, regardless of their immigration status and country

of residence, will be rightly afraid to visit Texas, engage in commercial trucking

through Texas, or travel on rail through Texas, for work or pleasure, out of concern

that they will be subject to unlawful police scrutiny and detention.

       Economic trade between Mexico and the United States will be further

compromised if international businesspersons and entities feel threatened when

conducting business within and through Texas. The United States and Mexico will




13
  See Secretaría de Relaciones Exteriores de México, Doing Business with Mexico: Trade With
Mexico Supports U.S. Jobs, MEXICAN EMBASSY IN THE U.S.,
https://embamex.sre.gob.mx/eua/index.php/en/2016-05-11-14-29-59/economic-affairs-menu
(last visited March 20, 2024).

                                            -15-
       Case: 24-50149      Document: 138      Page: 22    Date Filed: 03/21/2024




be unable to effectively work together to develop a mutually beneficial commercial

relationship if their joint trade resolutions are effectively nullified by the actions of

individual states.

                                   CONCLUSION

      Mexico respectfully submits that the likely damage outlined above that

enforcement of SB 4 would cause to Mexican nationals living in Texas and U.S.-

Mexico diplomatic relations significantly outweighs any harm that Texas might

suffer if the preliminary injunction is affirmed. Affirming the District Court would

simply preserve the status quo that has been in place for decades, with local

jurisdictions retaining authority to govern their affairs and the federal government

maintaining the responsibility to enforce federal immigration law. Accordingly, the

Government of Mexico respectfully asks this Court to affirm the order of the District

Court and maintain the preliminary injunction entered on February 29, 2024

blocking the enforcement of SB 4 pending further proceedings.




                                          -16-
Case: 24-50149   Document: 138   Page: 23   Date Filed: 03/21/2024




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                             -17-
       Case: 24-50149      Document: 138     Page: 24    Date Filed: 03/21/2024




      CERTIFICATE OF COMPLIANCE WITH FED. R. APP. P. 32(a)

       IT IS HEREBY CERTIFIED:
      1.    That the foregoing Brief Amicus Curiae of The Government of the
United Mexican States in support of Plaintiff-Appellees complies with the type-
volume limitation of FED. R. APP. P. 29(a)(5) because this brief contains 3,626
words, excluding the parts of the brief exempted by FED. R. APP. R. 32(f).

      2.     This brief complies with the typeface requirements for FED. R. APP. P.
32(a)(5) and the type style requirements of FED. R. APP. P. 32(a)(6), as well as Circuit
Rule 32.1, because this brief has been prepared in a proportionally spaced typeface
using Microsoft Word in 14-point Times New Roman font.

                                                s/ Sinéad O’Carroll
                                                Sinéad O’Carroll




                                         -18-
      Case: 24-50149     Document: 138    Page: 25    Date Filed: 03/21/2024




                        CERTIFICATE OF SERVICE

      I certify that, on March 21, 2024, a true and correct copy of this document

was transmitted to the Clerk of the United States Court of Appeals for the

Fifth Circuit via the Court’s CM/ECF document filing system and to all counsel of

record.
                                             s/ Sinéad O’Carroll
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                                      -19-
